                                                                              Case:12-23553-EEB Doc#:1 Filed:06/27/12                                              Entered:06/27/12 16:07:56 Page1 of 15
                                                                     B1 (Official Form 1) (12/11)
                                                                                                           United States Bankruptcy Court
                                                                                                                 District of Colorado                                                                                 Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Byrne, Thomas Fitzgerald
                                                                      All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                             (include married, maiden, and trade names):
                                                                      mem Telluride Mortgage, LLC
                                                                      dba Thomas F. Byrne Fine Properties, LLC
                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                      (if more than one, state all):     3729                                                 (if more than one, state all):

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      658 W. Columbia Avenue
                                                                      Telluride, CO
                                                                                                                             ZIPCODE 81435                                                                                   ZIPCODE
                                                                      County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                      San Miguel
                                                                      Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):
                                                                      P.O. Box 219
                                                                      Telluride, CO
                                                                                                                             ZIPCODE 81435                                                                                   ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                             ZIPCODE
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                                                                                         Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                                   the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                                                     üSee
                                                                      Individual (includes Joint Debtors)                          Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
                                                                          Exhibit D on page 2 of this form.
                                                                        Corporation (includes LLC and LLP)
                                                                                                                                   U.S.C. § 101(51B)
                                                                                                                                   Railroad
                                                                                                                                                                                       ü   Chapter 11
                                                                                                                                                                                           Chapter 12
                                                                                                                                                                                                                        Main Proceeding
                                                                                                                                                                                                                        Chapter 15 Petition for
                                                                        Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                 ü Other                                                                      (Check one box.)
                                                                                      Chapter 15 Debtor
                                                                      Country of debtor’s center of main interests:                           Tax-Exempt Entity
                                                                                                                                                                                            Debts are primarily consumer
                                                                                                                                                                                           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                  ü
                                                                                                                                                                                                                               Debts are primarily
                                                                                                                                                                                                                               business debts.
                                                                      __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                      Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                      regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                      __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                          Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                     ü  Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals      üDebtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.              than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                      ü  Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                                                                                                                                                  COURT USE ONLY

                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors
                                                                     ü
                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                        5,000          10,000           25,000              50,000              100,000           100,000
                                                                     Estimated Assets
                                                                                                                        ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities
                                                                                                                        ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                              Case:12-23553-EEB Doc#:1 Filed:06/27/12                                    Entered:06/27/12 16:07:56 Page2 of 15
                                                                     B1 (Official Form 1) (12/11)                                                                                                                           Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Byrne, Thomas Fitzgerald

                                                                                           All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:None
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
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                                                                                                                                                     X
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                      ü No
                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                          ü Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                     (Check any applicable box.)
                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                            (Name of landlord that obtained judgment)

                                                                                                                                        (Address of landlord)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                              Case:12-23553-EEB Doc#:1 Filed:06/27/12                                            Entered:06/27/12 16:07:56 Page3 of 15
                                                                     B1 (Official Form 1) (12/11)                                                                                                                                                   Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Byrne, Thomas Fitzgerald

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ Thomas F Byrne                                                                     Signature of Foreign Representative
                                                                          Signature of Debtor                                    Thomas F Byrne
                                                                      X                                                                                          Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor

                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          June 27, 2012
                                                                          Date

                                                                                                      Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Bonnie Bell Bond                                                              preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Bonnie Bell Bond 14923                                                            110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                                                          Law Office of Bonnie Bell Bond, LLC                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          5613 DTC Parkway, Suite 1200                                                      chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Greenwood Village, CO 80111-3135                                                  notice of the maximum amount before preparing any document for filing
                                                                          (303) 770-0926 Fax: (303) 770-0965                                                for a debtor or accepting any fee from the debtor, as required in that
                                                                          bonnie@bellbondlaw.com                                                            section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          June 27, 2012
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this              X
                                                                      petition is true and correct, and that I have been authorized to file this                 Signature
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                      United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                                                                                            Names and Social-Security numbers of all other individuals who prepared or
                                                                      X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                          Signature of Authorized Individual                                                not an individual:

                                                                                                                                                            If more than one person prepared this document, attach additional sheets
                                                                          Printed Name of Authorized Individual
                                                                                                                                                            conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                          Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                            imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                              Case:12-23553-EEB Doc#:1 Filed:06/27/12                            Entered:06/27/12 16:07:56 Page4 of 15
                                                                     B1D (Official Form 1, Exhibit D) (12/09)
                                                                                                                       United States Bankruptcy Court
                                                                                                                             District of Colorado

                                                                     IN RE:                                                                                           Case No.
                                                                     Byrne, Thomas Fitzgerald                                                                         Chapter 11
                                                                                                                Debtor(s)

                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                            CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     ü  1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Thomas F Byrne
                                                                     Date: June 27, 2012
Case:12-23553-EEB Doc#:1 Filed:06/27/12              Entered:06/27/12 16:07:56 Page5 of 15




                                               Certificate Number: 00121-CO-CC-018490746


                                                             00121-CO-CC-018490746




                    CERTIFICATE OF COUNSELING

I CERTIFY that on June 20, 2012, at 1:24 o'clock PM MDT, Thomas Byrne
received from Community Credit Counseling Services, an agency approved
pursuant to 11 U.S.C. § 111 to provide credit counseling in the District of
Colorado, an individual [or group] briefing that complied with the provisions of
11 U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by telephone.




Date:   June 20, 2012                          By:      /s/Elizabeth Ludchak


                                               Name: Elizabeth Ludchak


                                               Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
                                                                               Case:12-23553-EEB
                                                                     B4 (Official Form 4) (12/07)                       Doc#:1 Filed:06/27/12                        Entered:06/27/12 16:07:56 Page6 of 15
                                                                                                                                     United States Bankruptcy Court
                                                                                                                                           District of Colorado

                                                                     IN RE:                                                                                                                     Case No.
                                                                     Byrne, Thomas Fitzgerald                                                                                                   Chapter 11
                                                                                                                            Debtor(s)

                                                                                                   LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                     Following is the list of the debtor’s creditors holding the 20 largest unsecured claims. The list is prepared in accordance with Fed. R. Bankr. P. 1007(d) for filing in this
                                                                     chapter 11 [or chapter 9] case. The list does not include (1) persons who come within the definition of “insider” set forth in 11 U.S.C. § 101, or (2) secured creditors unless
                                                                     the value of the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims. If a minor child is one of the creditors
                                                                     holding the 20 largest unsecured claims, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                     guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                                                               (1)                                                        (2)                                    (3)                  (4)                    (5)
                                                                          Name of creditor and complete mailing address            Name, telephone number and complete mailing            Nature of claim      Indicate if claim         Amount of
                                                                                       including zip code                          address, including zip code, of employee, agent          (trade debt,         is contingent,           claim (if
                                                                                                                                    or department of creditor familiar with claim            bank loan,          unliquidated,          secured also
                                                                                                                                                who may be contacted                        government            disputed or          state value of
                                                                                                                                                                                           contract, etc.)     subject to setoff          security)
                                                                     JP Morgan Chase Bank, National Assn                                                                                   Bank loan                                     1,701,384.80
                                                                     P.O. Box 100564                                                                                                                                                       Collateral:
                                                                     Florence, SC 29502-0564                                                                                                                                             1,200,000.00
                                                                                                                                                                                                                                          Unsecured:
                                                                                                                                                                                                                                           501,384.80
                                                                     JP Morgan Chase Bank                                                                                                  Bank loan                                     992,000.00
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                                                                     P.O. Box 24696                                                                                                                                                      Collateral:
                                                                     Columbus, OH 43224-4696                                                                                                                                             650,000.00
                                                                                                                                                                                                                                        Unsecured:
                                                                                                                                                                                                                                         342,000.00
                                                                     Bank Of America                                               Michael P. Medved                                       Bank loan                                     398,282.04
                                                                     450 American Street                                           Health L. Deere                                                                                       Collateral:
                                                                     Simi Valley, CA 93065                                         355 Union Blvd. #302                                                                                  350,000.00
                                                                                                                                   Lakewood, CO 80228                                                                                   Unsecured:
                                                                                                                                                                                                                                          48,282.04
                                                                     Chase Bank, USA, N.A.                                         Valentine & Kebartas, Inc.                              credit card                                     5,373.97
                                                                     De-1-1027                                                     P.O. Box 325
                                                                     201 N. Walnut Street                                          Lawrence, MA 01842
                                                                     Wilmington, DE 19801
                                                                     VW Credit, Inc.                                               VW Credit, Inc                                          Bank loan                                      13,525.00
                                                                     National Bankruptcy Services                                  1401 Franklin Blvd                                                                                    Collateral:
                                                                     9441 LBJ Freeway Suite 250                                    Libertyville,, IL 60048                                                                                12,700.00
                                                                     Dallas, TX 75241                                                                                                                                                   Unsecured:
                                                                                                                                                                                                                                             825.00
                                                                     Boulder Community Hospital                                    Collection Center Of Wyoming                              medical                                         647.00
                                                                     1000 S. Boulder Road                                          P.O. Box 4000
                                                                     Lafayette, CO 80026                                           Rawlins, WY 82301-4000
                                                                     Boulder Emergency Physicians                                  Wakefield & Associates                                    medical                                           196.00
                                                                     1100 Balsam Avenue                                            P.O. Box 58
                                                                     Boulder, CO 80304-3404                                        Fort Morgan, CO 80701
                                                                     Wells Fargo Home Mortgage                                                                                             Bank loan                                     404,621.99
                                                                     1003 E Brier Drive                                                                                                                                                  Collateral:
                                                                     San Bernadino, CA 92408                                                                                                                                             550,000.00
                                                                                                                                                                                                                                        Unsecured:
                                                                                                                                                                                                                                              20.99
                                                                              Case:12-23553-EEB Doc#:1 Filed:06/27/12                                    Entered:06/27/12 16:07:56 Page7 of 15
                                                                                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the best of my information and belief.


                                                                     Date: June 27, 2012                             Signature /s/ Thomas F Byrne
                                                                                                                     of Debtor                                                                               Thomas F Byrne

                                                                     Date:                                           Signature
                                                                                                                     of Joint Debtor
                                                                                                                     (if any)
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                                                                            Case:12-23553-EEB Doc#:1 Filed:06/27/12                      Entered:06/27/12 16:07:56 Page8 of 15
                                                                     B201A (Form 201A) (11/11)


                                                                                                         UNITED STATES BANKRUPTCY COURT

                                                                                                 NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                                                                                          OF THE BANKRUPTCY CODE

                                                                              In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                     Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                     costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                     notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                             You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                     advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                     cannot give you legal advice.

                                                                              Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                     ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                     court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                                                                     each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
                                                                     receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
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                                                                     statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                     1. Services Available from Credit Counseling Agencies

                                                                             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                     bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                                                                     credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                                                                     days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
                                                                     by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
                                                                     United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
                                                                     approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                             In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                     management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                     financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                              Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
                                                                              Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                     Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                     should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                     residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
                                                                     have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
                                                                     to decide whether the case should be dismissed.
                                                                              Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                     right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
                                                                     creditors.
                                                                              The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                     have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
                                                                            Case:12-23553-EEB Doc#:1 Filed:06/27/12                       Entered:06/27/12 16:07:56 Page9 of 15
                                                                     B201A (Form 201A) (11/11)                                                                                                     Page 2

                                                                     discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                              Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                     may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                     and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                     which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
                                                                     motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
                                                                     from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
                                                                     that the debt is not discharged.

                                                                              Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                     $46 administrative fee: Total fee $281)
                                                                              Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
                                                                     installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
                                                                     set forth in the Bankruptcy Code.
                                                                              Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
                                                                     them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                     depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                              After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
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                                                                     secured obligations.

                                                                              Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1046)
                                                                              Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
                                                                     provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                                                                     an attorney.

                                                                             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
                                                                             Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                     future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                     income arises primarily from a family-owned farm or commercial fishing operation.

                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                     perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                     information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                     acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                     employees of the Department of Justice.

                                                                     WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
                                                                     your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                                                                     dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                                                                     Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
                                                                     B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
                                                                             Case:12-23553-EEB
                                                                     B201B (Form 201B) (12/09)             Doc#:1 Filed:06/27/12                Entered:06/27/12 16:07:56 Page10 of 15
                                                                                                                       United States Bankruptcy Court
                                                                                                                             District of Colorado

                                                                     IN RE:                                                                                            Case No.
                                                                     Byrne, Thomas Fitzgerald                                                                          Chapter 11
                                                                                                                Debtor(s)

                                                                                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                        UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                      Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                     notice, as required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                     Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                      the Social Security number of the officer,
                                                                                                                                                                      principal, responsible person, or partner of
                                                                                                                                                                      the bankruptcy petition preparer.)
                                                                                                                                                                      (Required by 11 U.S.C. § 110.)
                                                                     X
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                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                            Certificate of the Debtor

                                                                     I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                     Byrne, Thomas Fitzgerald                                               X /s/ Thomas F Byrne                                         6/27/2012
                                                                     Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


                                                                     Case No. (if known)                                                    X
                                                                                                                                                Signature of Joint Debtor (if any)                            Date


                                                                     Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                     Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                     NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                     attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                     page 3 of Form B1 also include this certification.
                                                                             Case:12-23553-EEB Doc#:1 Filed:06/27/12                      Entered:06/27/12 16:07:56 Page11 of 15
                                                                                                                   United States Bankruptcy Court
                                                                                                                         District of Colorado

                                                                     IN RE:                                                                                  Case No.
                                                                     Byrne, Thomas Fitzgerald                                                                Chapter 11
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: June 27, 2012                    Signature: /s/ Thomas F Byrne
                                                                                                                         Thomas F Byrne                                                          Debtor



                                                                     Date:                                  Signature:
                                                                                                                                                                                     Joint Debtor, if any
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Case:12-23553-EEB Doc#:1 Filed:06/27/12   Entered:06/27/12 16:07:56 Page12 of 15



 JP Morgan Chase Bank, National Assn
P.O. Box 100564
Florence, SC 29502-0564



Aronowitz & Mechklenburg, LLP
1199 Bannock Street
Denver, CO 80204



Bank Of America
450 American Street
Simi Valley, CA 93065



Bank Of America NA
7255 Baymeadows Way
Jacksonville, FL 32256



Boulder Community Hospital
1000 S. Boulder Road
Lafayette, CO 80026



Boulder Emergency Physicians
1100 Balsam Avenue
Boulder, CO 80304-3404



Castle Stawiarski
999 18th Street Suite 2201
Denver, CO 80202



Chase Bank, USA, N.A.
De-1-1027
201 N. Walnut Street
Wilmington, DE 19801
Case:12-23553-EEB Doc#:1 Filed:06/27/12   Entered:06/27/12 16:07:56 Page13 of 15



Collection Center Of Wyoming
P.O. Box 4000
Rawlins, WY 82301-4000



Colorado Department Of Revenue
Tax Audit And Compliance Division
1375 Shermant Street, Suite 101
Denver, CO 80261-0004



Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19114-7346



JP Morgan Chase
P.O. Box 24696
Columbus, OH 43224-4696



JP Morgan Chase Bank
P.O. Box 24696
Columbus, OH 43224-4696



Lawson Hill Property Owners Co
P.O. Box 81435
Telluride, CO 81435



Michael P. Medved
Health L. Deere
355 Union Blvd. #302
Lakewood, CO 80228



Valentine & Kebartas, Inc.
P.O. Box 325
Lawrence, MA 01842
Case:12-23553-EEB Doc#:1 Filed:06/27/12   Entered:06/27/12 16:07:56 Page14 of 15



VW Credit, Inc
1401 Franklin Blvd
Libertyville,, IL 60048



VW Credit, Inc.
National Bankruptcy Services
9441 LBJ Freeway Suite 250
Dallas, TX 75241



Wakefield & Associates
P.O. Box 58
Fort Morgan, CO 80701



Wells Fargo Bank
P.O. Box 4233
Portland, OR 97208-4233



Wells Fargo Bank NV NA
Attn: Bankruptcy MAC # P6103-05K
P.O. Box 3908
Portland, OR 97208-3908



Wells Fargo Bank NV NA
P.O. Box 31557
Billings, MT 59107-1557



Wells Fargo Home Mortgage
1003 E Brier Drive
San Bernadino, CA 92408



Wells Fargo Home Mortgage
3476 Stateview Blvd
Fort Mill, SC 29715
Case:12-23553-EEB Doc#:1 Filed:06/27/12   Entered:06/27/12 16:07:56 Page15 of 15



Wells Fargo Home Mortgage
8480 Stagecoach Circle
Frederick, MD 21701
